Case 2:15-cv-00248-JRG Document 174 Filed 10/05/15 Page 1 of 2 PageID #: 1112




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

OROSTREAM LLC,                                    §
     Plaintiff,                                   §
                                                  §        Case No. 2:15-cv-248-JRG
v.                                                §
                                                  §        (Lead Case)
ABS-CBN INTERNATIONAL,                            §
     Defendant.                                   §
                                                  §
                                                  §        Case No. 2:15-cv-251-JRG
FOX NEWS NETWORK, LLC                             §        (Member Case)
                                                  §


                                      FINAL JUDGMENT

       For reasons stated in the Court’s memorandum opinion and order of October 1, 2015, the

Court granted Defendants’ Motions to Dismiss under Rule 56 and found that the challenged

claim of the patent-in-suit is ineligible for patent protection on the ground that it is directed to

unpatentable subject matter. (Dkt. No. 170.) Pursuant to Rule 58 of the Federal Rules of Civil

Procedure and in accordance with the Court’s Order, the Court hereby ORDERS and ENTERS

JUDGMENT as follows:

       1.      At least claim 37 of U.S. Patent No. 5,828,837 is invalid as directed to

unpatentable subject matter.

       2.      Plaintiff Orostream shall take nothing as against Defendant ABS-CBN

International as to Case No. 2:15-cv-248-JRG and shall take nothing as against Fox News

Network as to Case No. 2:15-cv-251-JRG.

       3.      ABS-CBN International and Fox News Network are the prevailing parties, and as

such, shall recover their costs from Orostream.
Case 2:15-cv-00248-JRG Document 174 Filed 10/05/15 Page 2 of 2 PageID #: 1113
   .


        4.    The Court further ORDERS that the cases as between Plaintiff Orostream and

Defendant ABS-CBN International (Case No. 2:15-cv-248-JRG) and as between Plaintiff

Orostream and Defendant Fox News Network (Case No. 2:15-cv-251-JRG) are closed and all

other pending motions in the same are DENIED.



        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 5th day of October, 2015.




                                                   ____________________________________
                                                   RODNEY GILSTRAP
                                                   UNITED STATES DISTRICT JUDGE




                                            2
